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 1   Robert E. Schroth Jr. (Cal. SBN 212936)
     SCHROTH SCHROTH & MADIGAN
 2   3200 Fourth Avenue, Suite 101
 3   San Diego, CA 92103
     Telephone: (619) 233-7521
 4
     Philip D. Stern (N.J. SBN 045921984)
 5   Andrew T. Thomasson (N.J. SBN 048362011)
     STERN•THOMASSON LLP
 6   150 Morris Avenue, 2nd Floor
 7   Springfield, NJ 07081-1315
     Telephone: (973) 379-7500
 8

 9   Attorneys for Plaintiffs, Michael P. Koby, Michael
     Simmons, Jonathan W. Supler, Donald Nappi, and all
10   others similarly situated
11

12                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF CALIFORNIA
13

14   MICHAEL P. KOBY, an individual;           )              CASE NO.: 3:09-cv-00780-KSC
     MICHAEL SIMMONS, an individual;           )
15                                             )
     JONATHAN W. SUPLER, an individual;        )
16   DONALD NAPPI, an individual; on behalf of )
     themselves and all others similarly situated,
                                               )
17                                             )
                   Plaintiffs,                 )           FIRST AMENDED CLASS ACTION
18                                             )
                                               )           COMPLAINT AND DEMAND FOR
19          vs.                                )                   JURY TRIAL
                                               )
20   ARS NATIONAL SERVICES, INC., a            )
     California Corporation; and JOHN AND JANE )
21   DOES 1 through 25 inclusive,              )
                                               )
22                                             )
                   Defendants.                 )
23                                             )

24          Plaintiffs, MICHAEL P. KOBY (“KOBY”), MICHAEL SIMMONS (“SIMMONS”),
25   JONATHAN W. SUPLER (“SUPLER”), and DONALD NAPPI (“NAPPI) (collectively,
26   “Plaintiffs”) on behalf of themselves and all others similarly situated, by way of this Amended
27   Complaint against the Defendants, say:
28

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 1                                               I. PARTIES

 2          1.      KOBY is a natural person.

 3          2.      At all times relevant to this complaint, KOBY is a citizen of Texas and resided in

 4   the City of Katy, Harris County, Texas.

 5          3.      SIMMONS is a natural person.

 6          4.      At all times relevant to this complaint, SIMMONS is a citizen of Washington and

 7   resided in the City of Monroe, Snohomish County, Washington.

 8          5.      SUPLER is a natural person.

 9          6.      At all times relevant to this complaint, SUPLER is a citizen of North Carolina and

10   resided in the City of Raleigh, Wake County, North Carolina.

11          7.      NAPPI is a natural person.

12          8.      At all times relevant to this complaint, NAPPI is a citizen of Florida and resided in

13   the City of Deerfield Beach, Broward County, Florida.

14          9.      At all times relevant to this complaint, ARS NATIONAL SERVICES, INC.

15   (“ARS”) is a for-profit corporation existing pursuant to the laws of the State of California. ARS

16   maintains its principal business address at 201 West Grand Avenue, City of Escondido, San

17   Diego County, California.

18          10.     Defendants, JOHN AND JANE DOES 1 through 25 inclusive, are sued under

19   fictitious names as their true names and capacities are yet unknown to Plaintiffs. Plaintiffs will

20   amend this complaint by inserting the true names and capacities of these DOE defendants once

21   they are ascertained.

22                                    II. JURISDICTION & VENUE

23          11.     With respect to Plaintiffs’ claims under the FDCPA, jurisdiction of this Court

24   arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1331.

25          12.     Supplemental jurisdiction for Plaintiffs’ state law claims arises under 28 U.S.C.

26   § 1367.

27          13.     Declaratory relief is available pursuant to under 28 U.S.C. §§ 2201, 2202.

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 1          14.     Venue is appropriate in this federal district pursuant to 28 U.S.C. § 1391(b)

 2   because a substantial part of the events giving rise to Plaintiffs’ claims occurred within this

 3   federal judicial district, and because all the Defendants reside in the State of California within the

 4   meaning of 28 U.S.C. § 1391(b) and (c).

 5                                 III. PRELIMINARY STATEMENT

 6          15.     Plaintiffs, on their own behalf and on behalf of the class they seek to represent, and

 7   demanding a trial by jury, bring this action for the illegal practices of the Defendants who used

 8   false, deceptive and misleading practices, and other illegal practices, in connection with their

 9   attempts to collect alleged debts from the Plaintiffs and others. The Plaintiffs allege that the

10   Defendants’ collection practices violate the Fair Debt Collection Practices Act (“FDCPA”), 15

11   U.S.C. § 1692, et seq., the California Rosenthal Fair Debt Collection Practices Act (“RFDCPA”),

12   Cal. Civ. Code § 1788, et seq., the Texas Debt Collection Practices Act, Tex. Fin. Code § 392, et

13   seq. (“TDCPA”), and the Florida Consumer Collection Practices Act, Fla. Stat. § 559, et seq.

14   (“FCCPA”).

15          16.     Such practices include, inter alia:

16                  (a)   Leaving telephonic voice messages for consumers, which fail to

17                        provide meaningful disclosure of Defendants’ identity;

18                  (b)   Leaving telephonic voice messages for consumers, which fail to

19                        disclose that the call is from a debt collector;

20                  (c)   Leaving telephonic voice messages for consumers, which fail to

21                        disclose the purpose or nature of the communication (i.e. an attempt

22                        to collect a debt);

23                  (d)   Leaving telephonic voice messages for consumers, which make false,

24                        deceptive, or misleading representations or means to obtain

25                        information concerning a consumer and

26                  (e)   Making false, deceptive, and misleading statements, which conduct

27                        can reasonably be expected to abuse or harass the debtor or any

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 1                        member of her or his family.

 2          17.     The FDCPA regulates the behavior of collection agencies attempting to collect a

 3   debt on behalf of another. The United States Congress has found abundant evidence of the use of

 4   abusive, deceptive, and unfair debt collection practices by many debt collectors, and has

 5   determined that abusive debt collection practices contribute to a number of personal bankruptcies,

 6   marital instability, loss of jobs, and invasions of individual privacy. Congress enacted the FDCPA

 7   to eliminate abusive debt collection practices by debt collectors, to ensure that those debt

 8   collectors who refrain from using abusive debt collection practices are not competitively

 9   disadvantaged, and to promote uniform State action to protect consumers against debt collection

10   abuses. 15 U.S.C. § 1692(a) - (e).

11          18.     The FDCPA is a strict liability statute, which provides for actual or statutory

12   damages upon the showing of one violation. The Ninth Circuit has held that whether a debt

13   collector’s conduct violates the FDCPA should be judged from the standpoint of the “least

14   sophisticated debtor.” Baker v. G.C. Services Corp., 677 F.2d 775, 778 (9th Cir. 1982).

15          19.     To prohibit harassment and abuses by debt collectors the FDCPA, at 15 U.S.C.

16   § 1692d, provides that a debt collector may not engage in any conduct the natural consequence of

17   which is to harass, oppress, or abuse any person in connection with the collection of a debt and

18   names a non-exhaustive list of certain per se violations of harassing and abusive collection

19   conduct. 15 U.S.C. § 1692d(1)-(6). Among the per se violations is the placement of telephone

20   calls without meaningful disclosure of the caller’s identity, 15 U.S.C. § 1692d(6).

21          20.     To prohibit deceptive practices, the FDCPA, at 15 U.S.C. § 1692e, outlaws the use

22   of false, deceptive, and misleading collection letters and names a non-exhaustive list of certain

23   per se violations of false and deceptive collection conduct. 15 U.S.C. § 1692e(1)-(16). Among

24   these per se violations are: using any false representation or deceptive means to collect or attempt

25   to collect any debt or to obtain information concerning a consumer, 15 U.S.C. § 1692e(10); and

26   the failure by debt collectors to disclose in initial oral communications that the debt collector is

27   attempting to collect a debt and that any information obtained will be used for that purpose, and

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 1   the failure to disclose in subsequent oral communications with consumers that the communication

 2   is from a debt collector, 15 U.S.C. § 1692e(11).

 3          21.     The RFDCPA regulates collection agencies and original creditors attempting to

 4   collect debts on their own behalf. The California legislature has determined that the banking and

 5   credit system and grantors of credit to consumers are dependent upon the collection of just and

 6   owing debts and that unfair or deceptive collection practices undermine the public confidence that

 7   is essential to the continued functioning of the banking and credit system and sound extensions of

 8   credit to consumers. The California legislature has further determined that there is a need to

 9   ensure that debt collectors exercise their responsibility with fairness, honesty, and due regard for

10   the debtor’s rights and that debt collectors must be prohibited from engaging in unfair or

11   deceptive acts or practices.

12          22.     The TDCPA, like the FDCPA, prohibits debt collectors from using deceptive,

13   coercive, threatening, abusive, and other repugnant practices for the purpose of collecting a

14   consumer debt. Tex. Bus. & Com. Code Ann § 17.50; Cushman v. GC Services, L.P., 397 Fed.

15   Appx. 24 (5th Cir. 2010) (discussing the “tie-in” provision between the TDCPA and deceptive

16   practices Acts).

17          23.     The FCCPA, like the FDCPA, prohibits debt collectors from using deceptive,

18   coercive, threatening, abusive, and other repugnant practices for the purpose of collecting a

19   consumer debt.

20          24.     A Debt Collector means any person who uses any instrumentality of commerce

21   within this state, whether initiated from within or outside this state, in any business the principal

22   purpose of which is the collection of debts, or who regularly collects or attempts to collect, directly

23   or indirectly, debts owed or due or asserted to be owed or due another. The term "debt collector"

24   includes any creditor who, in the process of collecting her or his own debts, uses any name other

25   than her or his own which would indicate that a third person is collecting or attempting to collect

26   such debts. Fla. Stat. § 559.55(6).

27          25.     To prohibit deceptive practices, the FCCPA, at Fla. Stat. § 559.72(7), prohibits Debt

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 1   Collectors from willfully communicating with the debtor or any member of her or his family with

 2   such frequency as can reasonably be expected to harass the debtor or her or his family, or willfully

 3   engage in other conduct which can reasonably be expected to abuse or harass the debtor or any

 4   member of her or his family.

 5          26.     A person who suffers injury, loss, or damage, or from whom money was collected

 6   by the use of a method, act, or practice in violation of the FCCPA may bring an action for actual

 7   damages and for additional statutory damages of up to $1,000, together with court costs and

 8   reasonable attorney's fees incurred by the plaintiff. The court may also award punitive damages

 9   and may provide such equitable relief as it deems necessary or proper, including enjoining the

10   defendant from further violations of the FCCPA. Fla. Stat. § 559.77(1),(2).

11          27.     The Plaintiffs, on behalf of themselves and all others similarly situated, seek

12   statutory damages, attorney fees, costs, and all other relief, equitable or legal in nature, as deemed

13   appropriate by this Court, pursuant to the FDCPA, RFDCPA, TDCPA, and FCCPA. The

14   Plaintiffs, on behalf of themselves and all others similarly situated, request that they and the class

15   members be awarded statutory, common law, or actual damages payable by the Defendants.

16          28.     This case involves money, property, or other equivalent, due or owing or alleged

17   to be due or owing from natural persons by reason of consumer credit transactions. As such, this

18   action arises out of “consumer debts” and “consumer credit” as those terms are defined by Cal.

19   Civ. Code § 1788.2(f).

20          29.     This case involves an obligation, or an alleged obligation, primarily for personal,

21   family, or household purposes, and arising from a transaction or alleged transaction. As such, this

22   action arises out of “consumer debt” as that term is defined by Tex. Fin. Code § 392.001(2).

23          30.     This case involves an obligation or alleged obligation of a consumer to pay money

24   arising out of a transaction in which the money, property, insurance, or services which are the

25   subject of the transaction are primarily for personal, family, or household purposes. As such, this

26   action arises out of the collection of a “debt” or “consumer debt” as those terms are defined by

27   Fla. Stat. § 559.55(1).

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 1                                  IV. FACTS REGARDING KOBY

 2          31.      KOBY is informed and believes, and on that basis alleges, that sometime prior to

 3   September 2008 he allegedly incurred a financial obligation to Capital One Bank (USA), N.A.

 4   arising out of a transaction in which the money, property, insurance, or services which are the

 5   subject of the transaction are primarily for personal, family, or household purposes and defaulted

 6   on that obligation (“Koby Obligation”).

 7          32.      KOBY is informed and believes, and on that basis alleges, that sometime prior to

 8   September 2008, the creditor of the Koby Obligation either directly or through intermediate

 9   transactions assigned, placed, transferred, or sold the debt to ARS for collection.

10                                V. FACTS REGARDING SIMMONS

11          33.      SIMMONS is informed and believes, and on that basis alleges, that sometime prior

12   to April 2009 he allegedly incurred a financial obligation arising out of a transaction in which the

13   money, property, insurance, or services which are the subject of the transaction are primarily for

14   personal, family, or household purposes and defaulted on that obligation (“Simmons

15   Obligation”).

16          34.      SIMMONS is informed and believes, and on that basis alleges, that sometime prior

17   to April 2009, the creditor of the Simmons Obligation either directly or through intermediate

18   transactions assigned, placed, transferred, or sold the debt to ARS for collection.

19          35.      To date, SIMMONS has not received any written communications from ARS.

20                                 VI. FACTS REGARDING SUPLER

21          36.      SUPLER is informed and believes, and on that basis alleges, that sometime prior

22   to December 2008 he allegedly incurred a financial obligation to Chase Bank USA, N.A. arising

23   out of a transaction in which the money, property, insurance, or services which are the subject of

24   the transaction are primarily for personal, family, or household purposes and defaulted on that

25   obligation (“Supler Obligation”).

26          37.      SUPLER is informed and believes, and on that basis alleges, that sometime prior

27   to December 2008, the creditor of the Supler Obligation either directly or through intermediate

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 1   transactions assigned, placed, transferred, or sold the debt to ARS for collection.

 2                                  VII. FACTS REGARDING NAPPI

 3            38.   NAPPI is informed and believes, and on that basis alleges, that sometime prior to

 4   May 2009 he allegedly incurred a financial obligation arising out of a transaction in which the

 5   money, property, insurance, or services which are the subject of the transaction are primarily for

 6   personal, family, or household purposes and defaulted on that obligation (“Nappi Obligation”).

 7            39.   NAPPI is informed and believes, and on that basis alleges, that sometime prior to

 8   May 2009, the creditor of the Nappi Obligation either directly or through intermediate

 9   transactions assigned, placed, transferred, or sold the debt to ARS for collection.

10            40.   To date, NAPPI has not received any written communications from ARS.

11                          VIII. FACTS COMMON TO ALL PLAINTIFFS

12            41.   ARS collects, and attempts to collect, debts incurred, or alleged to have been

13   incurred, for personal, family, or household purposes on behalf of creditors using interstate

14   commerce or the mails.

15            42.   Within the one year immediately preceding the commencement of this action,

16   ARS contacted each of the Plaintiffs via telephone in an attempt to collect their respective alleged

17   debts.

18            43.   Within the one year immediately preceding the commencement of this action, each

19   of the Plaintiffs received from ARS at least one telephonic voice message (“Messages”).

20            44.   Each of the Messages was left, or caused to be left, by persons employed by ARS

21   in connection with ARS’s attempt to collect a debt.

22            45.   Each of the Messages uniformly failed to:

23                  (a)   Provide meaningful disclosure of ARS’s identity as the caller;

24                  (b)   Disclose that the communication was from a debt collector; and

25                  (c)   Disclose the purpose or nature of the communication (i.e., an attempt

26                        to collect a debt).

27            46.   An example of four such Messages are transcribed as follows:

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 1                  This is Robin calling for Michael Koby, if you could return my call
                    at 800-440-6613; my direct extension is 3171. Please refer to your
 2                  Reference Number as 15983225. [Received October 14, 2008].
                                                    ***
 3                  Hey John, uh, it’s Mike Mazzouli with ARS National. Umm, there
                    appears to be some documents here in my office, uh, John at this
 4                  point your involved. Call me as soon as you can. My direct number
                    and direct extension is 800-440-6613; I’m at extension 3697. Thank
 5                  you. [Received on or about December 23, 2008].

 6                                                  ***
                    This is Brian Cooper. This call is for Mike Simmons, I need you to
 7                  return this call as soon as you get this message 877-333-3880,
                    extension 2571. [Received on April 9, 2009].
 8
                                                    ***
 9                  This message is for Donald Nappi. Donald, this is James Kennedy
                    please return my call today, May 12th. My number is 800-900-1148
10                  extension 5315. James Kennedy calling for Donald Nappi please
                    return this call today, 800-900-1148 extension 5315. [Received on
11                  May 12, 2009].

12          47.     The Messages left for KOBY were at his home in Katy, Texas using his home

13   telephone number which begins with a 281 area code.

14          48.     The Messages left for SIMMONS were at his parents’ home using their home

15   telephone number which begins with 425 area code.

16          49.     The Messages left for SUPLER were at his home using his home telephone

17   number which begins with a 919 area code.

18          50.     The Messages left for NAPPI were on his cell phone in Florida using his cellular

19   telephone number which begins with a 954 area code

20          51.     Each of the Messages is false, deceptive, and misleading in that the natural

21   consequence of these communications is to harass, oppress, or abuse the least sophisticated

22   consumer and other persons.

23          52.     Each of the Messages is false, deceptive, and misleading insofar as ARS failed to

24   provide meaningful disclosure of its identity, disclose the purpose of its call, or disclose that ARS

25   is a debt collector, thereby frustrating the Plaintiffs’ ability to make an informed decision as to

26   whether they wished to speak with a debt collector.

27          53.     The Plaintiffs are informed and believe, and on that basis allege, that Defendants,


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  1   JOHN AND JANE DOES 1 through 25 inclusive, are natural persons and/or business entities all

  2   of whom reside or are located within the United States who personally created, instituted and,

  3   with knowledge that such practices were contrary to law, acted consistent with and oversaw

  4   policies and procedures used by the employees of ARS that are the subject of this complaint.

  5   Those Defendants personally control the illegal acts, policies, and practices utilized by ARS and,

  6   therefore, are personally liable for all of the wrongdoing alleged in this Complaint.

  7                        IX. POLICIES AND PRACTICES COMPLAINED OF

  8          54.     It has been Defendants’ policy and practice to leave telephonic voice messages for

  9   consumers and other persons, such as the Messages, that uniformly fail to:

 10                  (a)   Provide meaningful disclosure of ARS’s identity as the caller;

 11                  (b)   Disclose that the communication is from a debt collector; and

 12                  (c)   Disclose the purpose or nature of the communication.

 13                                      X. CLASS ALLEGATIONS

 14          55.     This action is brought as a class action. Plaintiffs bring this action on behalf of

 15   themselves and on behalf of all other persons similarly situated pursuant to Rule 23 of the Federal

 16   Rules of Civil Procedure.

 17          56.     Subject to discovery and further investigation which may cause Plaintiffs to

 18   modify the following class definition to be more inclusive or less inclusive, Plaintiffs define the

 19   “Class” as: Subject to the exclusions in ¶57, the Class consists of all persons to whom ARS

 20   placed a telephone call during the Class Period in an attempt to collect a debt using a telephone

 21   number containing a 281, 425, 919, or 954 area code and left a voice message which failed to

 22   state either (i) ARS National Services, Inc. was the caller, (ii) the communication was from a debt

 23   collector, (iii) the purpose or nature of the communication, or (iv) the call was placed in an

 24   attempt to collect a debt and any information obtained would be used for that purpose. The “Class

 25   Period” is the continuous period beginning on April 15, 2008 (the date which begins the one year

 26   preceding the commencement of this action) and continuing through and including May 20, 2009

 27   (the date ARS first appeared in this action).

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  1          57.        Excluded from the Class are persons who, prior to the date this action is certified

  2   to proceed as a class action, either:

  3                     (a)   died,

  4                     (b)   obtained a discharge in bankruptcy,

  5                     (c)   commenced an action in any court against Defendant alleging a violation of

  6                           the Fair Debt Collection Practices Act,

  7                     (d)   signed a general release of claims against Defendant, or

  8                     (e)   is a Judge assigned to this case or a member of such Judge’s staff or

  9                           immediate family.

 10          58.        The identities of the members of the Class are readily ascertainable from the

 11   records of ARS and those companies and governmental entities on whose behalf ARS attempts to

 12   collects debts.

 13          59.        Subject to discovery and further investigation which may cause Plaintiffs to

 14   modify the following class definition to be more inclusive or less inclusive, Plaintiffs define the

 15   281-Subclass as those members of the Class to whom ARS placed a telephone call using a

 16   telephone number containing a 281 area code.

 17          60.        Subject to discovery and further investigation which may cause Plaintiffs to

 18   modify the following class definition to be more inclusive or less inclusive, Plaintiffs define the

 19   954-Subclass as those members of the Class to whom ARS placed a telephone call using a

 20   telephone number containing a 954 area code.

 21          61.        Subject to discovery and further investigation which may cause Plaintiff to modify

 22   the following definition of the “Class Claims” to be more inclusive or less inclusive, Plaintiff

 23   defines the Class Claims as claims arising under the FDCPA, RFDCPA, TDCPA, and FCCPA

 24   based on ARS leaving a voice message for a person in an attempt to collect a debt which message

 25   failed to state either (i) ARS National Services, Inc. was the caller, (ii) the communication was

 26   from a debt collector, (iii) the purpose or nature of the communication, or (iv) the call was placed

 27   in an attempt to collect a debt and any information obtained would be used for that purpose.

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  1          62.     Based on discovery and further investigation (including, but not limited to,

  2   Defendants’ disclosure of class size and net worth), Plaintiff may, in addition to moving for class

  3   certification using modified definitions of the Class and Class Claims, seek class certification

  4   only as to particular issues as permitted under Fed. R. Civ. P. 23(c)(4).

  5          63.     There are questions of law and fact common to the Class, which common issues

  6   predominate over any issues involving only individual class members. Those principal issues are:

  7   whether the Defendants’ telephonic voice messages, such as the Messages, violate 15 U.S.C.

  8   §§ 1692d(6), 1692e(10), and 1692e(11).

  9          64.     The Plaintiffs’ claims are typical of the class members, as all are based upon the

 10   same facts and legal theories.

 11          65.     The Plaintiffs will fairly and adequately protect the interests of the Class and Sub-

 12   Classes defined in this Complaint. The Plaintiffs have retained counsel with experience in

 13   handling consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiffs nor

 14   their attorneys have any interests, which might cause them not to vigorously pursue this action.

 15          66.     This action has been brought, and may properly be maintained, as a class action

 16   pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

 17   well-defined community interest in the litigation:

 18                  (a)   Numerosity: The Plaintiffs are informed and believe, and on that basis allege,

 19                        that the Plaintiff Class defined above is so numerous that joinder of all

 20                        members would be impractical and contain at least 40 members.

 21                  (b)   Common Questions Predominate: Common questions of law and fact exist

 22                        as to all members of the Class and those questions predominate over any

 23                        questions or issues involving only individual class members. The principal

 24                        issues are: whether the Defendants’ telephonic voice messages, such as the

 25                        Messages, violate 15 U.S.C. §§ 1692d(6), 1692e(10), and 1692e(11).

 26                  (c)   Typicality: The Plaintiffs’ claims are typical of the claims of the class

 27                        members. The Plaintiffs and all members of the Class have claims arising out

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  1                        of Defendants’ common uniform course of conduct complained of herein.

  2                  (d)   Adequacy: The Plaintiffs will fairly and adequately protect the interests of the

  3                        class members insofar as Plaintiffs have no interests that are averse to the

  4                        absent class members. The Plaintiffs are committed to vigorously litigating

  5                        this matter. Plaintiffs have also retained counsel experienced in handling

  6                        consumer lawsuits, complex legal issues, and class actions. Neither the

  7                        Plaintiffs nor their counsel have any interests which might cause them not to

  8                        vigorously pursue the instant class action lawsuit.

  9                  (e)   Superiority: A class action is superior to the other available means for the fair

 10                        and efficient adjudication of this controversy because individual joinder of all

 11                        members would be impracticable. Class action treatment will permit a large

 12                        number of similarly situated persons to prosecute their common claims in a

 13                        single forum efficiently and without unnecessary duplication of effort and

 14                        expense that individual actions would engender. An important public interest

 15                        will be served by addressing the matter as a class action, substantial expenses

 16                        to the litigants and to the judicial system will be realized, and the potential

 17                        inconsistent or contradictory adjudications will be avoided as contemplated by

 18                        Rule 23(b)(1) of the Federal Rules of Civil Procedure.

 19          67.     Certification of a class or sub-class under Rule 23(b)(2) of the Federal Rules of

 20   Civil Procedure is appropriate in that, if a determination is made that Defendants’ telephonic

 21   voice messages for Texas consumers violate the TDCPA, KOBY and the 281-Subclass would be

 22   permitted to obtain injunctive relief pursuant to Tex. Fin. Code § 392.403(a)(1).

 23          68.     Certification of a class or sub-class under Rule 23(b)(2) of the Federal Rules of

 24   Civil Procedure is also appropriate in that, if a determination is made that Defendants’

 25   standardized telephonic voice messages for Florida consumers violate the FCCPA, NAPPI and

 26   the 954-Subclass would be permitted to obtain injunctive relief pursuant to Fla. Stat. § 559.77(2).

 27          69.     Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

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  1   is also appropriate in that:

  2                   (a)   The questions of law and fact common to members of the Class and Sub-

  3                         Classes predominate over any questions affecting an individual member; and

  4                   (b)   A class action is superior to other available methods for the fair and efficient

  5                         adjudication of the controversy.

  6           70.     Depending on the outcome of further investigation and discovery, Plaintiffs may,

  7   at the time of their class certification motion: (i) seek to modify the definition of the Class and

  8   Sub-Classes (defined supra) to be more inclusive or less inclusive; seek to modify the definitions

  9   of the Class and Sub-Class claims (defined supra) to be more/less inclusive; and/or (iii) seek

 10   certification only as to particular issues as permitted under Fed. R. Civ. P. 23(c)(4).

 11                                     XI. FIRST CAUSE OF ACTION

 12             VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

 13                                    (AGAINST ALL DEFENDANTS)

 14           71.     Plaintiffs reallege and incorporate by reference the allegations in the preceding

 15   paragraphs of this Amended Complaint.

 16           72.     The alleged Koby Obligation is a “debt” as defined by 15 U.S.C. §1692a(5).

 17           73.     KOBY is, at all times relevant to this complaint, a “consumer” as that term is

 18   defined by 15 U.S.C. § 1692a(3).

 19           74.     The alleged Simmons Obligation is a “debt” as defined by 15 U.S.C. §1692a(5).

 20           75.     SIMMONS is, at all times relevant to this complaint, a “consumer” as that term is

 21   defined by 15 U.S.C. § 1692a(3).

 22           76.     The alleged Supler Obligation is a “debt” as defined by 15 U.S.C. §1692a(5).

 23           77.     SUPLER is, at all times relevant to this complaint, a “consumer” as that term is

 24   defined by 15 U.S.C. § 1692a(3).

 25           78.     The alleged Nappi Obligation is a “debt” as defined by 15 U.S.C. §1692a(5).

 26           79.     NAPPI is, at all times relevant to this complaint, a “consumer” as that term is

 27   defined by 15 U.S.C. § 1692a(3).

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  1          80.    ARS is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

  2          81.    Each of the Messages is a “communication” as defined by 15 U.S.C. § 1692a(2).

  3          82.    By placing each telephone call and leaving the Messages, Defendants violated the

  4   FDCPA. Such violations include, but are not limited to, the following:

  5                 (a)   Engaging in conduct the natural consequence of which is to harass, oppress,

  6                       or abuse any person in connection with the collection of a debt in violation of

  7                       15 U.S.C. § 1692d;

  8                 (b)   Placing telephone calls without providing meaningful disclosure of ARS’s

  9                       identity as the caller in violation of 15 U.S.C. § 1692d(6);

 10                 (c)   Leaving telephonic voice messages which fail to disclose the purpose or

 11                       nature of the communication, i.e., an attempt to collect a debt, in violation of

 12                       15 U.S.C. § 1692d(6);

 13                 (d)   Leaving telephonic voice messages for consumers, which use false, deceptive,

 14                       or misleading representations or means in connection with the collection of

 15                       any debt in violation of 15 U.S.C. §§ 1692e and 1692e(10);

 16                 (e)   Leaving telephonic voice messages for consumers, which use false,

 17                       deceptive, or misleading representations or means to obtain information

 18                       concerning a consumer in violation of 15 U.S.C. §§ 1692e and 1692e(10);

 19                 (f)   Failing to disclose in its initial communication with the consumer, when that

 20                       communication is oral, that ARS is attempting to collect a debt and that any

 21                       information obtained will be used for that purpose, which constitutes a

 22                       violation of 15 U.S.C. § 1692e(11); and

 23                 (g)   Failing to disclose in all oral communications that ARS is a debt collector in

 24                       violation of 15 U.S.C. §1692e(11).

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  1                                XII. SECOND CAUSE OF ACTION

  2    VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT

  3                                   (AGAINST ALL DEFENDANTS)

  4          83.     Plaintiffs reallege and incorporate by reference the allegations in the preceding

  5   paragraphs of this Amended Complaint.

  6          84.     ARS is, at all times relevant to this complaint, engaged in the act and/or practice of

  7   “debt collection” as that term is defined by Cal. Civ. Code §1788.2(b).

  8          85.     ARS is, at all times relevant to this complaint, a “debt collector” as defined by Cal.

  9   Civ. Code §1788.2(c).

 10          86.     Each of the Messages was left in connection with the collection of a “debt” as

 11   defined by Cal. Civ. Code § 1788.2(d).

 12          87.     Each of the Messages was left by, or caused to be left by, persons employed by

 13   ARS as a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).

 14          88.     The alleged Koby Obligation is a “debt” as defined by Cal. Civ. Code §1788.2(d).

 15          89.     KOBY is, at all times relevant to this complaint, a “person” as that term is defined

 16   by Cal. Civ. Code §1788.2(g).

 17          90.     KOBY is, at all times relevant to this complaint, a “debtor” as that term is defined

 18   by Cal. Civ. Code §1788.2(h).

 19          91.     The alleged Simmons Obligation is a “debt” as defined by Cal. Civ. Code

 20   §1788.2(d).

 21          92.     SIMMONS is, at all times relevant to this complaint, a “person” as that term is

 22   defined by Cal. Civ. Code §1788.2(g).

 23          93.     SIMMONS is, at all times relevant to this complaint, a “debtor” as that term is

 24   defined by Cal. Civ. Code §1788.2(h).

 25          94.     The alleged Supler Obligation is a “debt” as defined by Cal. Civ. Code §1788.2(d).

 26          95.     SUPLER is, at all times relevant to this complaint, a “person” as that term is

 27   defined by Cal. Civ. Code §1788.2(g).

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  1          96.     SUPLER is, at all times relevant to this complaint, a “debtor” as that term is

  2   defined by Cal. Civ. Code §1788.2(h).

  3          97.     The alleged Nappi Obligation is a “debt” as defined by Cal. Civ. Code §1788.2(d).

  4          98.     NAPPI is, at all times relevant to this complaint, a “person” as that term is defined

  5   by Cal. Civ. Code §1788.2(g).

  6          99.     NAPPI is, at all times relevant to this complaint, a “debtor” as that term is defined

  7   by Cal. Civ. Code §1788.2(h).

  8          100.    Each of the Messages is a “communication” as defined by 15 U.S.C. § 1692a(2).

  9          101.    By placing each telephone call and leaving the Messages, Defendants violated the

 10   RFDCPA. Such violations include, but are not limited to, the following:

 11                  (a)   Placing telephone calls without providing meaningful disclosure of ARS’s

 12                        identity as the caller in violation of Cal. Civ. Code § 1788.11(b); and

 13                  (b)   Leaving telephonic voice messages for Plaintiffs in an attempt to collect a

 14                        debt, whereby the Defendants violated 15 U.S.C. § 1692, et seq., as set forth

 15                        above in Plaintiffs’ First Cause of Action and is, therefore, also a violation of

 16                        Cal. Civ. Code § 1788.17.

 17                                 XIII. THIRD CAUSE OF ACTION

 18           VIOLATIONS OF THE TEXAS DEBT COLLECTION PRACTICES ACT

 19                                   (AGAINST ALL DEFENDANTS)

 20          102.    Plaintiffs reallege and incorporate by reference the allegations in the preceding

 21   paragraphs of this Amended Complaint.

 22          103.    ARS is, at all times relevant to this complaint, engaged in the act and/or practice of

 23   “debt collection” as that term is defined by Tex. Fin. Code § 392.001(5).

 24          104.    ARS is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

 25          105.    ARS is, at all times relevant to this complaint, a “debt collector” as that term is

 26   defined by Tex. Fin. Code § 392.001(6).

 27          106.    ARS is, at all times relevant to this complaint, a “third-party debt collector” as that

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  1   term is defined by Tex. Fin. Code § 392.001(7).

  2          107.     ARS is, at all times relevant to this complaint, engaged in the act and/or practice of

  3   “debt collection” as that term is defined by Tex. Fin. Code § 392.001(5).

  4          108.     The alleged Koby Obligation is a “consumer debt” as defined by Tex. Fin. Code

  5   § 392.001(2).

  6          109.     Each of the Messages was left in connection with the collection of a “consumer

  7   debt” as defined by Tex. Fin. Code § 392.001(2).

  8          110.     KOBY is, at all times relevant to this complaint, a “consumer” as that term is

  9   defined by Tex. Fin. Code § 392.001(1).

 10          111.     Each of the Messages was left by, or caused to be left by, persons employed by

 11   ARS as a “debt collector” as that term is defined by Tex. Fin. Code § 392.001(6).

 12          112.     Each of the Messages was left by, or caused to be left by, persons employed by

 13   ARS as a “third-party debt collector” as that term is defined by Tex. Fin. Code § 392.001(7).

 14          113.     By placing each telephone call and leaving the Messages, Defendants violated the

 15   TDCPA. Such violations include, but are not limited to, the following:

 16                   (a)   Failing to disclose in its initial communication with the consumer, when the

 17                         communication is oral, that ARS is attempting to collect a debt and that any

 18                         information obtained will be used for that purpose, which constitutes a

 19                         violation of Tex. Fin. Code § 392.304(5)(A);

 20                   (b)   Failing to disclose in subsequent oral communications that ARS is a debt

 21                         collector in violation of Tex. Fin. Code § 392.304(5)(B);

 22                   (c)   Leaving telephonic voice messages in an attempt to collect a debt, wherein

 23                         Defendants violated 15 U.S.C. §§ 1692e, 1692d, and subsections thereof, as

 24                         set forth above in Plaintiff’s First Cause of Action, which is, therefore, also a

 25                         violation of Tex. Fin. Code § 392.304(19).

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  1                                 XIV. FOURTH CAUSE OF ACTION

  2      VIOLATIONS OF THE FLORIDA CONSUMER COLLECTION PRACTICES ACT

  3                                   (AGAINST ALL DEFENDANTS)

  4          114.     Plaintiffs reallege and incorporate by reference the allegations in the preceding

  5   paragraphs of this Amended Complaint.

  6          115.     ARS is, at all times relevant to this complaint, engaged in the business of soliciting

  7   consumer debts for collection and/or collecting consumer debts and, therefore, is a “Consumer

  8   Collection Agency” as that term is defined by 15 Fla. Stat. § 559.55(7).

  9          116.     ARS is a “debt collector” as defined by Fla. Stat. § 559.55(6).

 10          117.     The alleged Nappi Obligation is a “debt” as defined by Tex. Fin. Code

 11   § 392.001(2).

 12          118.     Each of the Messages was left in connection with the collection of a “debt” as

 13   defined by Fla. Stat. § 559.55(1).

 14          119.     NAPPI is, at all times relevant to this complaint, a “consumer” as that term is defined

 15   by Fla. Stat. § 559.55(2).

 16          120.     NAPPI is, at all times relevant to this complaint, a “debtor” as that term is defined

 17   by Fla. Stat. § 559.55(2).

 18          121.     Each of the Messages was left by, or caused to be left by, persons employed by

 19   ARS as a “debt collector” as defined by Fla. Stat. § 559.55(6).

 20          122.     Each of the Messages is a “communication” as defined by Fla. Stat. § 559.55(5).

 21          123.     By placing each telephone call and leaving the Messages, Defendants violated the

 22   FCCPA. Such violations include, but are not limited to, the following:

 23                   (a)   Willfully making false, deceptive, and misleading statements, which conduct

 24                         can reasonably be expected to abuse or harass the debtor or any member of her

 25                         or his family in violation of Fla. Stat. § 559.72(7); and

 26                   (b)   Willfully engaging in conduct which can reasonably be expected to abuse or

 27                         harass the debtor or any member of her or his family in violation of Fla. Stat.

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  1                        § 559.72(7).

  2                                       XV. PRAYER FOR RELIEF

  3          124.    WHEREFORE, Plaintiffs respectfully request the Court enter judgment in their

  4   favor and in favor of the Class and Sub-Classes as follows:

  5   A.     For the FIRST CAUSE OF ACTION:

  6          (i)    An order certifying that the First Cause of Action may be maintained as a class

  7                 pursuant to Rule 23 of the Federal Rules of Civil Procedure and appointing Plaintiffs

  8                 and the undersigned counsel to represent the Plaintiff Class as previously set forth and

  9                 defined above;

 10          (ii)   An award of statutory damages for the Plaintiffs and the Class pursuant to 15 U.S.C.

 11                 § 1692k(a)(B);

 12          (iii) Declaratory relief adjudicating that the Defendants’ telephone messages violate the

 13                 FDCPA;

 14          (iv) Attorney’s fees, litigation expenses, and costs pursuant to 15 U.S.C. § 1692k(a)(B)(3);

 15                 and

 16          (v)    For such other and further relief as may be just and proper.

 17   B.     For the SECOND CAUSE OF ACTION:

 18          (i)    An order certifying that the Second Cause of Action may be maintained as a class

 19                 pursuant to Rule 23 of the Federal Rules of Civil Procedure and appointing Plaintiffs

 20                 and the undersigned counsel to represent the Class as previously set forth and

 21                 defined above.

 22          (ii)   An award of the maximum statutory damages for Plaintiffs and the Class pursuant to

 23                 Cal. Civ. Code §1788.30(b);

 24          (iii) Declaratory relief adjudicating that ARS’s telephone messages violate the RFDCPA;

 25          (iv) Attorney’s fees, litigation expenses, and costs pursuant to Cal. Civ. Code

 26                 §1788.30(c), Cal. Code Civ. Proc. § 1021.5, and/or under the substantial benefit and

 27                 common fund doctrine in an amount to be determined at trial; and

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  1        (v)    For such other and further relief as may be just and proper.

  2   C.   For the THIRD CAUSE OF ACTION:

  3        (i)    An order certifying that the Third Cause of Action may be maintained as a class

  4               pursuant to Rule 23 of the Federal Rules of Civil Procedure and Tex. Fin. Code

  5               § 392.403(a), and appointing KOBY and the undersigned counsel to represent the

  6               281-Subclass as set forth and defined above;

  7        (ii)   An award of statutory damages for KOBY and the 281-Subclass, pursuant to Tex. Fin.

  8               Code § 392.403(e), in an amount to be determined at trial, for each of Defendants’

  9               violations of Tex. Fin. Code § 392.101;

 10        (iii) For injunctive relief for KOBY and the 281-Subclass, pursuant to Tex. Fin. Code

 11               § 392.403(a)(1), including enjoining Defendants from engaging in further violations

 12               of Chapter 392 of the Texas Finance Code as complained of herein;

 13        (iv) For declaratory relief pursuant to 28 U.S.C. §§ 2201, 2202 adjudicating that

 14               Defendants’ collection conduct complained of herein violates the TDCPA;

 15        (v)    An incentive award for KOBY, in connection with her services on behalf of the 281-

 16               Subclass, in an amount to be determined by the Court after judgment is entered in their

 17               favor;

 18        (vi) Attorney’s fees, litigation expenses, and costs pursuant to Tex. Fin. Code

 19               § 392.403(b); and

 20        (vii) For such other and further relief as may be just and proper.

 21   D.   For the FOURTH CAUSE OF ACTION:

 22        (i)    An order certifying that the Fourth Cause of Action may be maintained as a class

 23               pursuant to Rule 23 of the Federal Rules of Civil Procedure and appointing NAPPI

 24               and the undersigned counsel to represent the 954-Subclass previously set forth and

 25               defined above;

 26        (ii)   An award of the maximum statutory damages for NAPPI and the 954-Subclass

 27               pursuant to Fla. Stat. § 559.77(2);

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  1          (iii) For an award of equitable relief for NAPPI and the 954-Subclass pursuant to Fla. Stat.

  2                § 559.77(2), which enjoins the Defendants from committing further violations of Fla.

  3                Stat. § 559.72(7) by leaving the violative telephone messages complained of herein;

  4          (iv) For a finding that the Defendants’ violations of Fla. Stat. § 559.72(7) were wanton,

  5                malicious or gross, and outrageous to such an extent that the measured compensation

  6                to the NAPPI and the 954-Subclass should have an additional amount added to it by

  7                way of punitive damages pursuant to Fla. Stat. § 559.77(2) in an amount to be

  8                determined at trial;

  9          (v)   Attorney’s fees, litigation expenses, and costs pursuant to Fla. Stat. § 559.77(2); and

 10          (vi) For such other and further relief as may be just and proper.

 11                                         VI. JURY DEMAND

 12          Plaintiffs hereby respectfully demand that this case be tried before a Jury.

 13                                                 Respectfully submitted.

 14                                                  SCHROTH SCHROTH & MADIGAN
                                                              --and--
 15                                                  STERN•THOMASSON LLP
 16                                                  Attorneys for Plaintiffs, Michael P. Koby, Michael
                                                     Simmons, Jonathan W. Supler, and Donald Nappi
 17    DATED: September 6, 2017                      By: s/ Philip D. Stern
 18                                                     PHILIP D. STERN
                                        CERTIFICATE OF SERVICE
 19
              I, Philip D. Stern, hereby affirm under the penalties of perjury that on September 6, 2017,
 20   I served the within documents and all supporting papers on the Clerk of this Court using this
      Court’s CM/ECF system. I also certify that the forgoing documents are being served this day on
 21   all counsel of record and Parties to this action in the manner specified, either via transmission of
      Notice of Electronic Filing generated by CM/ECF or in some other authorized manner for those
 22   counsel or parties who have not yet appeared or are otherwise not authorized to receive electronic
 23   Notices of Electronic Filing.
                                                                         s/ Philip D. Stern
 24                                                                       Philip D. Stern

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